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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  LAI YING TSANG; SCOTT JEFFERSON,             Case No. 1:23-CV-00333-MWJS-
                                               KJM
                       Plaintiffs,
              vs.                              DECLARATION OF MAX J. KIMURA
  PORTER MCGUIRE KIAKONA, LLP;
  ASSOCIATION OF APARTMENT OWNERS              [IN SUPPORT OF PLAINTIFFS
  OF THE PACIFIC ISLANDER,                     MEMORANDUM IN OPPOSITION
                                               TO DEFENDANT’S MOTION TO
                       Defendants.             AMEND RULE 16 SCHEDULING
                                               ORDER AND FOR DISCOVERY
                                               SANCTIONS]




                      DECLARATION OF MAX J. KIMURA

              I, MAX J. KIMURA, declare and state as follows:

              1.    I am one of the attorneys for the Plaintiffs Lai Ying Tsang

  and Scott Jefferson in the present action. This declaration is made on personal

  knowledge, except where indicated otherwise.

              2.    Attached as Exhibit “1” is a true and correct excerpted copy

  of transcripts from Plaintiff Lai Ying Tsang’s oral deposition taken on August

  16, 2024.

              Declarant states under penalty of law that the above is true and

  correct.

              Executed this 4th day of October 2024 in Honolulu, Hawaii.




                                      MAX J. KIMURA
